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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO


 In re:
 HALKER CONSULTING LLC                                Case No. 17-15141-MER
 EIN: XX-XXXXXXX,                                     Chapter 11
                    Debtor.


 In re:
 MATTHEW HALKER                                       Case No. 17-15143-MER
 SS#: XX-XXX-8528,                                    Chapter 11
                    Debtor.
                                                      Jointly administered under
                                                      Case No. 17-15141-MER


  ORDER GRANTING MOTION TO APPROVE SETTLEMENT AGREEMENT WITH
  APOGEE COLORADO HOLDINGS, LLC PURSUANT TO FED. R. BANKR. P. 9019(a)


          Upon the Motion to Approve Settlement Agreement with Apogee Colorado Holdings,

 LLC (“Apogee”) Pursuant to Fed. R. Bankr. P. 9019(a) (the “Motion”) submitted by the Debtors,

 Halker Consulting LLC and Matthew Halker (together, the “Debtors”), seeking approval of the

 Settlement Agreement between Apogee in the Debtors, attached to the Motion as Exhibit A (the

 “Settlement Agreement”); having determined that the relief requested in the Motion is in the best

 interests of the Debtors, their estates, and their creditors and that the settlement memorialized in

 the Settlement Agreement is fair and equitable and otherwise satisfies the requirements for

 approval under Fed. R. Bankr. P. 9019(a); having jurisdiction to consider the Motion and the

 relief requested in the Motion pursuant to 28 U.S.C. §§ 157 and 1334; consideration of the

 Motion and the relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b);



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 venue being proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409; proper and

 sufficient notice of the Motion having been provided to all necessary and appropriate parties, and

 no further notice being necessary; and after due deliberation and sufficient cause appearing

 therefor, the Court HEREBY

          FINDS, ORDERS, ADJUDGES, AND DECREES THAT:

          1.        The Motion shall be and is hereby GRANTED.

          2.        The Settlement Agreement and its terms are hereby approved pursuant to Fed. R.

 Bankr. P. 9019(a).


          Dated this 22nd day of September, 2017.

                                                BY THE COURT:


                                                The Honorable Michael E. Romero
                                                Chief United States Bankruptcy Judge




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